Case 2:04-cV-02033-.]P|\/|-de Document 31 Filed 06/08/05 Page 1 of 2 Page|D 67

 

 

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WESTERN DISTRICT oF TENNESSEE
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ERICSoN GRoUP, INC.,

WD. OF `§`§`xf HEM]:»§;§
Plaintiff,

V.

No. 2104-CV»2033 Ml/V
MARDI GRAS ZONE LLC,

Defendant.

 

ORDER GRANTING UNOPPOSED MOTION FOR A SHORT EXTENSION OF
DISCOVERY CUTOFF DEADLINE

F or good cause shown, it is

ORDERED: that the discovery cut-off date be and is hereby extended through and

@WOUUW&K

Jo` _P MCCALLA
TED STATES DISTRICT wDGE

including, Thursday, July 14, 2005.

   

 

DIANE K. VESCOVO
UNITED STATES MAGISTRATE .TUDGE

DATE:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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Honorable J on McCalla
US DISTRICT COURT

